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AO 451 (Rev. 12/12) Clerk’s Certification of a Judgment to be Registered in Another District

UNITED STATES DISTRICT COURT

for the
Northern District of Alabama

Southpoint Bank )
Plaintiff )
Vv. ) Civil Action No. 2:22-cv-1348-MHH
Lifehope Equipment Leasing, LLC, et al. )
Defendant )

CLERK’S CERTIFICATION OF A JUDGMENT TO BE REGISTERED IN ANOTHER DISTRICT

I certify that the attached judgment is a copy of a judgment entered by this court on (date) ___—- 04/22/2024
I also certify that, as appears from this court's records, no motion listed in Fed. R. App. P. 4(a)(4)(A) is pending

before this court, the time for appeal has expired, and no appeal has been filed or, if one was filed, it is no longer
pending.

Date: 01/16/2025

CLERK OF COURT

thw)

Signature of Clerk or Deputy Clerk
